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           EXHIBIT LIST in USA v. CARL MURPHY, 4:21-cr-00103-008


                                       Government's Exhibits
No.       Date                                  Description                        Marked   Admitted
100     1/9/2023   Intercepted call - Holmes and Clay 6/15/2021 at 7:57 pm          Yes       Yes
101     1/9/2023   Intercepted call - Holmes and Black 6/19/2021 at 7:40 pm         Yes       Yes
102     1/9/2023   Intercepted call - Holmes and Clay 6/25/2021 at 6:50 pm          Yes       Yes
103     1/9/2023   Intercepted call - Holmes and Lindsay 6/26/2021 at 11:42 am      Yes       Yes
104     1/9/2023   Intercepted call - Holmes and Lindsay 6/26/2021 at 12:14 pm      Yes       Yes
105     1/9/2023   Intercepted call - Holmes and Lindsay 6/26/2021 at 12:28 pm      Yes       Yes
106     1/9/2023   Intercepted call - Holmes and Clay 6/26/2021 at 1:00 pm          Yes       Yes
107     1/9/2023   Intercepted call - Holmes and Clay 6/26/2021 at 1:42 pm          Yes       Yes
108     1/9/2023   Intercepted call - Holmes and Customer 6/26/2021 at 7:20 pm      Yes       Yes
109     1/9/2023   Intercepted call - Holmes and Murphy 6/29/2021 at 11:51 am       Yes       Yes
110     1/9/2023   Intercepted call - Holmes and Abdul-Ahad 6/29/2021 at 4:03 pm    Yes       Yes
111     1/9/2023   Intercepted call - Black and Murphy 5/28/2021 at 12:34 pm        Yes       Yes
112     1/9/2023   Intercepted call - Black and Murphy 6/25/2021 at 6:49 pm         Yes       Yes
113     1/9/2023   Intercepted call - Black and Murphy 6/27/2021 at 1:08 pm         Yes       Yes
114     1/9/2023   Intercepted call - Black and Murphy 6/28/2021 at 9:29 am         Yes       Yes
115     1/9/2023   Intercepted call - Black and Sanders 6/28/2021 at 9:44 am        Yes       Yes
116     1/9/2023   Intercepted call - Black and Murphy 6/28/2021 at 10:23 am        Yes       Yes
117     1/9/2023   Intercepted call - Black and Murphy 7/2/2021 at 3:20 pm          Yes       Yes
118     1/9/2023   Intercepted call - Black and Murphy 7/3/2021 at 11:10 am         Yes       Yes
119     1/9/2023   Intercepted call - Holmes and Black 5/12/2021 at 12:33 pm        Yes       Yes
120    1/11/2023   Murphy Jail Call 10/12/2022 at 1:34 pm                           Yes       Yes
200     1/9/2023   Pole Camera - Arrest of Murphy 7/21/2021 at 6:00 am              Yes       Yes
201     1/9/2023   Pole Camera - Black, Harris at Murphy's 6/28/2021 at 10:52 am    Yes       Yes
202     1/9/2023   Pole Camera - Holmes at Murphy's 6/26/2021 at 12:14 pm           Yes       Yes
203     1/9/2023   Pole Camera - Clay at Murphy's 6/26/2021 at 12:50 pm             Yes       Yes
204     1/9/2023   Pole Camera - Black at Murphy's 7/3/2021 at 2:38 pm              Yes       Yes
205     1/9/2023   Pole Camera - Brown at Murphy's 5/11/2021 at 9:30 am             Yes       Yes
206    1/11/2023   Post-Miranda Clip                                                Yes       Yes
207    1/11/2023   Post-Miranda Clip                                                Yes       Yes
208    1/11/2023   Post-Miranda Clip                                                Yes       Yes
209    1/11/2023   Post-Miranda Clip                                                Yes       Yes
210    1/11/2023   Post-Miranda Clip                                                Yes       Yes
211    1/11/2023   Post-Miranda Clip                                                Yes       Yes
212    1/11/2023   Post-Miranda Clip                                                Yes       Yes
213    1/11/2023   Post-Miranda Clip                                                Yes       Yes
214    1/11/2023   Post-Miranda Clip                                                Yes       Yes
300     1/9/2023   Photo Array                                                      Yes       Yes
301    1/10/2023   Photo of Carl Murphy                                             Yes       Yes
302     1/9/2023   Photo of Malek Holmes                                            Yes       Yes
303     1/9/2023   Photo of Pierre Black                                            Yes       Yes
304     1/9/2023   Photo of Deshawn Greer                                           Yes       Yes
305     1/9/2023   Photo of Desmond Howard                                          Yes       Yes
306     1/9/2023   Photo of Earl Clay, III                                          Yes       Yes
307     1/9/2023   Photo of Ronald Harris                                           Yes       Yes
308     1/9/2023   Photo of Gregory Spight                                          Yes       Yes
309     1/9/2023   Photo of Tabaris Brown                                           Yes       Yes
310     1/9/2023   Photo of Terrance Lindsay                                        Yes       Yes
311    1/10/2023   Photo of Robert Jeffries                                         Yes       Yes
312    1/10/2023   Photo of Azim Abdul-Ahad                                         Yes       Yes
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No.       Date                               Description         Marked   Admitted
313     1/9/2023   Phone Toll Link Chart                          Yes       Yes
314     1/9/2023   GPS Radius Chart                               Yes       Yes
315    1/11/2023   Photo Array - Murphy                           Yes       Yes
316     1/9/2023   Map of Murphy's Residnce at 79th & Halstead    Yes       Yes
317     1/9/2023   Spight/Murphy Texts                            Yes       Yes
318     1/9/2023   Spight Texts                                   Yes       Yes
319     1/9/2023   Howard/Murphy Texts                            Yes       Yes
320     1/9/2023   Photo of Heroin from Howard Stop               Yes       Yes
322    1/10/2023   Holmes/Murphy Texts                            Yes       Yes
323    1/10/2023   Holmes Texts to Others re: The P               Yes       Yes
324     1/9/2023   Fire in Texts - 11/10/2020                     Yes       Yes
325     1/9/2023   Fire in Texts - 11/24/2020                     Yes       Yes
326     1/9/2023   Fire in Texts - 2/20/2021                      Yes       Yes
327     1/9/2023   Fire in Texts - 5/13/2021                      Yes       Yes
328     1/9/2023   Fire in Texts - 6/14/2021                      Yes       Yes
329     1/9/2023   Fire in Texts -6/26/2021                       Yes       Yes
330     1/9/2023   Fire in Texts -6/28/2021                       Yes       Yes
331     1/9/2023   Fire in Texts-7/3/2021                         Yes       Yes
332     1/9/2023   Fire in Texts-7/11/2021                        Yes       Yes
333     1/9/2023   Customer Text Photos of Heroin                 Yes       Yes
335     1/9/2023   Stipulation - Lab Reports                      Yes       Yes
336     1/9/2023   DCI Lab Reports                                Yes       Yes
337    1/10/2023   Photo of Murphy's House                        Yes       Yes
338    1/10/2023   Photo of Murphy's House-Pole Cam Still         Yes       Yes
339    1/11/2023   Consent Search Photo - Kitchen                 Yes       Yes
340    1/11/2023   Consent Search Photo - Kitchen                 Yes       Yes
341    1/11/2023   Consent Search Photo - Kitchen                 Yes       Yes
342    1/11/2023   Consent Search Photo - Closet                  Yes       Yes
343    1/11/2023   Consent Search Photo - Safe in Closet          Yes       Yes
344    1/11/2023   Consent Search Photo - Gun Box                 Yes       Yes
345    1/11/2023   Consent Search Photo - Safe                    Yes       Yes
346    1/11/2023   Consent Search Photo - Safe Empty              Yes       Yes
347    1/11/2023   Consent Search Photo - IDs                     Yes       Yes
348    1/11/2023   Consent Search Photo - Safe                    Yes       Yes
349    1/11/2023   Consent Search Photo - Safe Contents           Yes       Yes
350    1/11/2023   Photo of Ammo                                  Yes       Yes
351    1/11/2023   Consent Search Photo - Drug Notes              Yes       Yes
352    1/10/2023   M.H. Plea Agreement                            Yes       Yes
353    1/10/2023   Sealed Document                                Yes       Yes
356     1/9/2023   Murphy NDIL Certified Judgment                 Yes       Yes
358    1/11/2023   Door Void Photo                                Yes       Yes
359    1/11/2023   Door Void Photo                                Yes       Yes
360    1/11/2023   Door Void Photo                                Yes       Yes
362     1/9/2023   Drug Trafficking Structure                     Yes       Yes
363    1/10/2023   CAST Analysis                                  Yes       Yes
364     1/9/2023   Disc of Toll Data                              Yes       Yes
365     1/9/2023   Disc of Phone GPS Data                         Yes       Yes
366    1/10/2023   Disc of Historical Phone Location Data         Yes       Yes
369    1/11/2023   Stipulation - Jail Phone Call                  Yes       Yes
371    1/11/2023   M.D. Plea Agreement                            Yes       Yes
372    1/11/2023   Sealed Document                                Yes       Yes
